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                                   UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter    11


MILLENNIUM LAB HOLDINGS II, LLC,                                 Case   No. 15-12284 (LSS)
et al.,
                                                                 (Jointly Administered)
                              I
                  Debtors.
                                                                  Hearing Date: March 23,2020 at 10:30 a.m. (ET)
                                                                  Objection Deadline: February 28,2020 at 4:00 p.m. (ET)

          MOTION FOR ENTRY OF AN ORDER (I) REOPENING THE BANKRUTCY
         CASES PURSUANT TO BANKRUPTCY CODE SECTION 350 AND RULE 5O1O
      OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND (II) ENFORCING
       THE PLAN TO REQUIRE MILLENNIUM HEALTH, LLC TO FUND DRAWS ON
                 LOAN AGREEMENTS APPROVED UNDER THE PLAN

              Marc S. Kirschner, as Trustee (the "Trustee") of the Millennium Corporate Claim Trust

     (the   "Corporate Claim Trust") and Millennium Lender Claim Trust (the "Lender Claim Trust,"

     and together with the Corporate Claim Trust, the             "Claim Trusts") established under            the Amended


    Prepackaged Joint Plan of Reorganization of Millennium Lab Holdings,                             II, LLC, et al. (the

     "Plan"), the Millennium Corporate Claim Trust Agreement (the "Corporate Claim Trust

     Agreement") and the Millennium Lender Claim Trust Agreement (the "Lender Claim Trust

     Agreement," andtogether with the Corporate Claim Trust Agreement, the "Trust Agreements"),

     by and through its undersigned co-counsel, respectfully subrnits this Motion For Entry O/ An

     Order (I) Reopening These Chapter I I Cases Pursuant To Bankruplcy Code Section 350 and Rule

     5010 Of The Federal Rules Of Banlcruptcy Procedure and (lI) Enforcing the Plan to Require




     I The pre-confirmation and pre-effective date Debtors and the last four digits of their respective taxpayer identification
        numbers were as follows; Millennium Lab l{oldings II, LLC (5299); Millennium l{ealth, LLC (5558); and RxAnte,
        LLC (0219). The Debtors' address is 16981 Via Tazon, San Diego, California 92127 .
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Millennium Health, LLC to Fund Draws on Loan Agreements Approved Under the Plan (the

"Motion").2 In supporl of the Motion, the Trustee respectfully                 states as   follows

                                        PRELIMINARY STATBMENT

            In   excess   of $2 billion of claims and causes of action of the Reorganized Debtors and

Reorganized Debtors' lenders were assigned to the Claim Trusts under the Plan, with the exception

of certain claims         released under the     Plan. The Claim Trusts were key to the prepackaged

bankruptcy of the Reorganized Debtors. To assure the viability of the Claim Trusts, the Plan

provides for their funding through outright cash contributions by the Reorganized Debtors

aggregating $13 million of "initial funding" and a no-interest "Trust Delayed Draw Facility" of $7

million under the Loan Agreements that would kick in when the initial funding contribution was

depleted. All of the initial $13 million of "initial funding" has been supplied to the Claim Trusts

and permissibly used to effectuate the Claim Trusts' purposes. The Claim Trusts have complied

with all their obligations and conditions precedents to draw under the Loan Agreements, but

Reorganized Debtor Millennium Health, LLC (the "Company"), the lender for the Trust Delayed

Draw Facility under the Loan Agreements, has refused to honor draw down requests in December

20 |   9   and January 2020 aggregating       $70   5,3 20. I 3 .




2      Th" Plan is Docket No. 195-1 and the Findings of Fact, Conclusions of Law and Order (l) Approving the (A)
       Prepetition Solicitation Procedures, (B) Forms of Ballots, (C) Adequacy of Disclo,sure Statement Pursuant to
       Sections I125 and 1126(c) rf the Bankruptcy Code, and (D) Form and Manner of Notice of Cornbined Hearing
       and Commencement of Chapter I I Cases, and (ll) Confirning the Prepackaged Joint Chapter I I Pløn of
       Reorganization of Millennium Lab Holdings II, LLC, et al., dated Dec. 14,2015 ("Confirmation Order") is
       Docket No. 195. The Corporate Claim Trust Agreement and Lender Claim Trust Agreement are Exhibit A
       (Docket No. I 79- I ) and Exhibit B (Docket No. I 79-2), respectively, to Third Plan Supplement .for the Amended
       Prepackaged Joint Plan of Reorgønization of Millennium Lab l{oldings II, LLC, et ø1. fDocket No. l79l (the
       "Third Plan Supplement"). The Corporate Clainl Trust Loan Agreement and the Lender Claim Trust Loan
       Agreernent (collectively, the "Loan Agreements") for the "'lrust Delayed Draw Facility" set fofth in the Plan,
       are Exhibits I (Docket No. 179-9) and Exhibit J (Docket No. 179- 10), respectively, to the Third Plan Supplement.
       Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Plan.




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       In March 2018, the Reorganized Debtors obtained an order closing the above-captioned

chapter 1 1 cases (the "Cases") to, inler alia, save payments of fees to the U. S. Trustee. Such order

is expressly without prejudice to the right of the Trustee or any other party in interest to seek to

reopen the Cases. As this Court has retained jurisdiction over the Cases to the extent necessary or

appropriate to implement the Plan as well as over disputes that may arise in connection with the

consummation, interpretation or enforcement of the Plan, the Trustee hereby moves to reopen the

Cases and for entry    of an order compelling compliance by the Company with the Plan and Loan

Agreements.

                                         JURISDICTION & VENUE

        1.        The Court has jurisdiction over this proceeding pursuant to the Confirmation Order

and Article   IX of the Plan, specifically Sections IX.A(vii), (viii),   and (xv) thereof which read:

       Pursuant to sections 105(c) and ll42 of the Bankruptcy Code and notwithstanding the entry
       of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Coutt
       shall, after the Effective Date, retain such jurisdiction over the Chapter 1 1 Cases and all
       Entities with respect to all matters related to the Chapter 1 1 Cases, the Debtors or this Plan
        as legally permissible, including, without limitation,    jurisdiction to:

        (vii) enter such orders                                   to implement or consutnmate the
                                  as may be necessary or appropriate
       provisions of this Plan and all other contracts, instruments, releases and other agreements
       or documents adopted in connection with this Plan, the Plan Supplement or the Disclosure
       Statement;

        (viii) resolve any cases, controversies, suits or disputes that may arise in connection
        with the consumrnation, interpretation or enforcement of this Plan or any Entity's
        obligations incurred in connection with this Plan;

        (xv) resolve any other matters that may arise in connection with or relate to this Plan,
        the Disclosure Statement, the Confirmation Order or any contract, instrument,
        release indenture or other agreement or document adopted in connection with this
        Plan or the Disclosure Statement.

        2.        This Courthas jurisdictionoverthismatterpursuantto 28 U.S.C. $$ 157 and1334.

See In re   A.H. Robbins Co.. Inc., 86 F.3d 364,373 (4th Cit. 2011) (holding that court had "arising




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in" and "related to" jurisdiction over dispute the resolution of which would affect the amount each

claimant would receive from post-confirmation claims trust); In re FAH Liquidating Corp., 567

B.R. 464, 471 (Bankr. D. Del. 2017) (holding that court had jurisdiction over post-confirmation

dispute involving alleged violation of an asset purchase agreement, the terms of which were

inseparable from the plan and from the bankruptcy case itself); In re Fruehauf Trailer Corp., 369

B.R. 817 (Bankr. D. Del. 2007) (holding that court had post-confirmation jurisdiction over

adversary proceeding against former trustee of liquidating trust who failed to properly execute his

duties under the liquidating trust agreement).

        3.        This matter is a core proceeding within the meaningof 28 U.S.C. $ 157(bX2).

        4.        Venue is proper pursuant to 28 U.S.C. $$ 1408 and 1409.

        5.        The statutory predicates for the relief requested herein are sections 105(a) and

350(b) of title 11 of the United States Bankruptcy Code (the "Bankruptcy Code"), and Rule 5010

of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules").

                                          RELIEF REQUESTED

        6.        By this Motion, the Trustee seeks entry of an order (i) reopening the                      Cases


pursuant to Bankruptcy Code Section 350 and Bankruptcy Rule 5010,                    (ii) enforcing the Plan as

against the reorganized Company to require it to fund the $7            million Trust Delayed Draw Facility

to the Claim Trusts; and (iii) granting such other and further relief to the Claim Trusts as the Court

may deem just and proper.3

                                              BACKG ROIINT)


3   The Trust Agreements provide that the Claim Trusts shall be dissolved on December 21 ,2020, unless the Trusts
    are extended by Couft order. See Trust Agreements, Art. X. A motion to extend the Claim Trusts, however,
    cannot be made until within six (6) months prior to December 21 ,2020. See Trust Agreements, Art. X; Plan, Art'
    V.G.i. In addition to the instant Motion, the Trustee anticipates moving to extend the Claim Trusts within the
    appropriatetimeperiod. IftheCourtgrantstheTrustee'sMotiontoreopentheCasestoaccordthereliefsought
    herein, the Trustee requests the Cases remain open to pennit the Trustee to move to extend the term of the Claim
    Trusts.


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I.      The Establishment of the Claim Trusts

        7.        Each of the Reorganized Debtors f,rled voluntary petitions for relief under chapter

11 of the Bankruptcy Code in the United States Bankruptcy Court          for the District of Delaware on

November 10,2015, and thereby commenced the Cases.

        8.        The Reorganized Debtors' prepackaged Plan of reorganization provided, inter

alia, for the creation of the Lender Claim Trust and the contribution to the Lender Claim Trust of

all individual claims and causes of action (except Released Claims) initially belonging               to

Consenting Lenders (as defined in the Plan), together with certain other assets (the "Lender Claim

Trust Assets"). The Plan also provided for the creation of the Corporate Claim Trust and             the

contribution to the Corporate Claim Trust of all claims and causes of action of the Reorganized

Debtors (except Released Claims) (the "Corporate Claim Trust Assets," the Lender Claim Trust

Assets, together with the Corporate Claim Trust Assets, the        "Trust Assets"). All Lenders (as

defined in the Plan) are beneficial holders of the Corporate Claim Trust and all Consenting Lenders

(as defined in the Plan) are beneficial holders of the Lender Claim Trust.

         9.       The Trust Agreements provide:

         The principal purpose of the [Claims Trusts] is to aid in the implementation of the Plan and
         the Confirmation Order, and therefore the fTrust Agreements] incorporate[]the provisions
         of the Plan and the Confîrmation Order by this reference. To that end, the Trustee shall
         have full power and authority to take any action consistent with the purpose and provisions
         of the Plan, to seek any orders from the Bankruptcy Court in furtherance of implementation
         of the Plan that directly affect the interest of the [Claims Trusts], and to seek any orders
         from the Bankruptcy Courl solely in fuilherance of th[ese] fTrust Agreements].4

         10.      Section 4.1 of the Trust Agreements, which details the "role of the Trustee,"

provides that "[i]n all circumstances, the Trustee shall act in the best interests of all [ ] Claim Trust




4    Trust Agreements $ 2.7



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Beneficiaries and in furtherance of the purpose of the fClaim Trusts], and shall make timely

[distributions] and not unduly prolong the duration of the fClaim Trustsl."s

        11.         Under Sections 4.2 of the Trust Agreements:

        The Trustee shall be deemed the appointed representative to, and may, except as otherwise
        provided   in the Plan or the Conformation Order, prosecute, enforce, litigate, settle,
        compromise, transfer, or assign any such rights, claims. [retained causes of action], suits
        or proceedings as appropriate in favor of or against the fClaim Trusts], in accordance with
        the terms of the fTrusts Agreements], the Plan, the Conhrmation Order, and in the best
        interests of the fClaim Trustsl and the fClaim Trusts beneficiaries].6

        12.         Pursuant to Section 4.6(d) of the Trust Agreements:

        The Trustee shall, consistent with the Plan, retain Cash and fund one or more reserves, at
        any time and from time to time, with such amounts as the Trustee, in its reasonable
        discretion (after consultation with the Trust Advisory Board), deems reasonable and
        appropriate to ensure the [Claims Trusts] will be able to meet ftheir] obligations for fees,
        costs, and expenses as set forth in Section a.6@) hereof.T

        13.         Under Sections 4.7 of the Trust Agreements, the Trustee shall make distributions

of all trust income and all net proceeds from the Trust Assets, from time to time, subject to

establishment of reasonable reserves for ongoing expected fees and expenses.s

        14.         Pursuant to the Plan, the Debtors were reorganized and all Lenders automatically

received   a   pro rata share of all the equity of the Company          and a share   of a $600 million secured

loan to the Company coming due December 21, 2020. The Trustee is not privy to any current

activities of the Reorganized Debtors or their financial condition and, as noted above, owes duties

solely to the beneficiaries of the Claim Trusts.




5   Trust Agreements $ 4.1. Likewise, Section 2.5 of the Trust Agreements provides that the purpose of the Claim
    Trusts is to benefit the beneficiaries of the Claim Trusts and shall serve as "a mechanism for convefting to Cash
    the Trust Assets for the benefit of the [Claim Trustsl Beneficiaries." Trust Agreements $ 2.5.

6   Trust Agreements $ 4.2.
7   Trust Agreernents $ 4.6(d).
8   Trust Agreements $ 4.7, see also Plan , Article V.F and V.G; Trust Agreements $ a.1 I (g).



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        15.        Pursuant to the Plan, the Reorganized Debtors agreed to provide an      initial funding

of $ l3 million (the "Initial Funding") to the Lender Claim Trust and the Corporate Claim Trust.

The Initial Funding consists of the following

                  a.      An initial cash contribution to the Cotporate Claim Trust in the amount of
                          $1 million; see Plan at Article V, Section F (ii);

                  b.      An initial contribution to the Lender Claim Trust in the amount of           $2
                          million; seePlan at Article. V, Section G (ii); and

                  c.      Reimbursement to the Claim Trusts, upon receipts of invoices, of fees and
                          expenses (including professional fèes) in the aggregate amount of $ 10
                          million, without interest (the "Reimbursement Contribution Fund");
                          see id.

        16.        The Plan further provides that the Initial Funding "shall not be required to be

reimbursed."9

        17.        The Claim Trusts, on a monthly basis, through November 2019, submitted

invoices, approved by the Trustee and the Trust Advisory Board, to the Company for legal and

professional fees incurred in furtherance of the Claim Trusts'pufposes. The Company consistently

and without objection promptly paid all amounts requested until the Initial Funding was exhausted

in December 2019.

        18.        All activities   and hnancial status of the Claim Trusts were timely made available

to the public on the Claim Trusts' website,               https://cases.primeclerk.com/millenniumtrusts/,

including: (i) detailed descriptions of all litigation and confidential settlements achieved by the

Claim Trusts, (ii) an $ I 8 million distribution to the Claim Trusts' beneficiaries in March 2019, and

(iii) quarterly   and annual unaudited f,rnancial statements regularly posted to the Claim Trusts'

website.




9   Plun, Art. V.F(ii) and V.G(ii) (emphasis added)



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            19.        In addition to the Initial Funding, the Plan provides for additional $7 million of

financing for the Trusts pursuant to a "Trust Delayed Draw Facility." The availability of loans

under the Trust Delayed Draw Facility is tied to the exhaustion of the $10          million Reimbursement

Contribution Fund, as set forth in the Plan

            Once this $10,000,000 is exhausted, fthe Company] shall advance additional funds
            from the Trust Delayed Draw Facility (not to exceed $7,000,000 in the aggregate
            of all such funds advanced to both [the Trusts]) in respect of fees and costs of the
            [Corporate Claim Trust] at the request of the [Corporate Claim Trust] Advisory
            Board."lo

The Trust Delayed Draw Facility is also interest free for the Claim Trusts, but, unlike the Initial

Funding, is subject to repayment of out of any proceeds recovered from the litigation or settlement

of claims and causes of action after the Trust Delayed Draw Facility is effective and loans

thereunder have been made.

            20.        To implement the Plan's provisions for the funding of the Claim Trusts through

the Trust Delayed Draw Facility, the Plan provided for the entry by the Company, as Lender, and

the Trusts, as Borrowers, into two virtually identical loan agreements: the Lender Claim Trust

Loan Agreement and the Corporate Claim Trust Loan Agreement, both dated as of December 21,

2015 (the "Loan Agreements"). Both of the Loan Agreements were exhibits to the Plan and

constituted parts thereof.ll The $7 million in aggregate amount of financing provided under Loan

Agreements is to be used by the Claim Trust drawing thereunder only to further the "Trust

Purpose," def,rned to mean:

            (x) hold the Trust Assets until liquidation, (y) liquidate (and conveft to cash) the [Trusts
            Assets] on behalf of and for the benefit of, the [ ] Trust Beneficiaries, including without
            limitation, by pursuing, litigating, andlor settling any claims and/or causes of actions
            constituting fTrusts Assets], or by assignment, disposition or otherwise, and (z) disrribute

l0      Plan, Article V.F(ii).

I   I   For the convenience of the Court, the Corporate Claim Trust Loan Agreement and Lender Claim Trust Loan
        Agreement are annexed hereto as Exhibits A and B, respectively.



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         the Claim Proceeds.for the benefit of the I J Trust Beneficiaries, with no objection to
         continue or engage in the conduct ofa trade or business, except to the extent reasonably
         necessary to, and consistent with, the liquidating purposes of the Borrower, as such
         purpose may be amended, supplemented andlor modified from time to time in accordance
         with the fTrust Agreements].12

         2l.       Borrowing can occur under the Loan Agreements only after the entire amount of

the Initial Funding ($13 million) has been made available to the Claim Trusts and used in

fuilherance of the Trust Purpose (the "Effective Date").13 The LoanAgreements, however, do

not condition the Claim Trusts' ability to borrow thereunder on having no other available cash.l4

         22.       The Claim Trusts, as Borrowers under the Loan Agreements, are not obligated to

pay or prepay any amounts drawn thereunder "unless the Borrower has received proceeds from

the [Trust Assets], whether from settlement, litigation, settlement, judgment or otherwise ("Claim

Proceeds")."15 The provisions addressing payment or prepayment from Claims Proceeds apply

only to Loans that have already been advanced and remain outstanding under the Loan

Agreement.l6

         23.       On December 14, 2015, the Bankruptcy Court confirmed the Plan.                                The

Confirmation Order provides, consistent with the Plan, that the Court "shall retain exclusive

jurisdiction over all matters arising out of, and related to, the Chapter           1   1 Cases and the Plan to the




12   Loan Agreements g 6 (emphasis added).
l3   Loan Agreements gg 1(a),4.
l4   S"" Loan Agreements'tf   1(a).

l5   Loan Agreements g 1(b); see also Loan Agreements $ 8(c) ("[T]he Borrower shall not distribute any Claim
     Proceeds (or any other amounts or Trust Assets) to the [Clairn Trusts beneficiaries] before all outstanding Loans
     and other amounts outstanding hereunder have been paid in   full in cash.").
16   Loan Agreements ô$ l(b), (c); see also Loan Agreements $ 8(c).


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fullest extent permitted by law, including, but not limited to, the matters set forth in Article IX.A

of the Plan."l7

il.              The Closing of the Cases

             24.        On January 23, 2018, notwithstanding ongoing activity by the Trusts,                     the

Reorganized Debtors moved for the Cases to be closed citing the general absence of activity

requiring the involvement of the Bankruptcy Court and pointing to the administrative and financial

burden on the Reorganized Debtors of the Cases remaining open, including the burden of recently

increased level of fees imposed by the U.S. Trustee.lS

             25.        In support of the requested relief, the Company represented to the Court that the

Claim Trusts "have been and continue to be funded by the Reorganized Debtors in accordance

with the Plan."l9 In granting the Reorganized Debtors' motion to close the Cases, the Court

explicitly noted the possibility that its jurisdiction could be invoked in the future: the Final Decree

and Order closing the Cases, which was entered on March23,2018, provides that its entry "is

without prejudice to the rights of the Reorganized Debtors or other parties in interest to seek to

reopen any of the Reorganized Debtors' chapter 1 1 cases for cause pursuant to section                   3   50(b) of




17 Conlirmation Order g 62.
18 Reorganizecl Debtors' Motionfor      Entrlt  of'l Final Decree and Order Closing lhe Reorganized Dehtors' Chapter
      I   I Cases Nunc Pro Tunc to January   23, 2018 and Terminoting Certøin Claims and Noticing Services [Dkt. No.
      s   r4l.
19    rd. at9.



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the Bankruptcy Code."20 An adversary proceeding commenced by the Lender Claim Trust was

explicitly excluded from the Final Decree closing the Cases and remains pending.2l

III.         The Receipt By the Claim Trusts of Settlement Proceeds

              26.         During the fiscal quarter ended June 30, 2018, the Claim Trusts entered into

confidential settlements with two potential defendants (the "2018 Settlements").                          All of the cash

proceeds           of the 2018 Settlements (the "20L8 Cash Settlement Proceeds"), except                          amounts


expended for payment              of Clam Trust Expenses, were thereafter held in the Trusts through

approximately March 11,2019. On or about such date, after reserving for ongoing administrative

expenses, including fees and expenses of professionals retained by the Trusts, the Trusts made a

distribution to its beneficiaries in the amount of $ 18 million.

              27   .      After giving effect to the $ 18 million distribution, the Trusts retained

approximately $20.8 million. Maintaining such a reserve is consistent with the Trust Agreements,

which provide that the Initial Funding shall not be required to be reimbursed and that the Trustee

shall retain and fund such a reserve of cash for the Claim Trusts' anticipated obligations for fees,

costs and expenses.22 Both the amount of the 2018 Cash Settlement Proceeds, the making of the




20     Final Decree and Order Closing Reorganized Debtors' Chapter I I Cases and Terminaling Certain Clains and
       Noticing Services, dated March 23,2018 [Dkt. No. 547] ("Final Decree") at fl 5; see also Reorganized Dehtors'
       Motion.for Entry of q Final Decree and Order Closing the Reorganized Debtors' Chapter I I Cøses Nunc Pro
       Tunc to January 23, 20t8 and Terminating Cerlain Claims and Noticing Services, dated Jan. 23,2018 [Dkt. No'
       5141 at ll 24 ("[T]he entry of a final decree closing the Chapter 1 I cases will (a) be without prejudice to creditors'
       rights to petition the Court to reopen any of the Chapter 1 I cases pursuant to section 350(b) of the Bankruptcy
       Cõ¿e . . . ."); Tr. of Oral Ruling on Reorganized Debtors' Motion for Entry of a Final Decree and Order Closing
       the Reorganized Debtors' Chapter 1l Cases Pro Tunc to January 23,2018 and Terminating Certain Claims and
       Noticing Services, dated Mar. 20,201S [Dkt. No. 546] at 6-9 ("[T]he bankruptcy cases may be reopened for cause
       . . . .[and] I do not intend to impact, nor am I impacting the confìnnation order.").

21     Id.   ar'1f 4.

22 5"" Plan, Article        V.F(ii) and V.G(ii); Trust Agreements   $ 4.6(d).




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$   18 million distribution and the reserves established by the Trusts from such proceeds were

disclosed publicly on the Claim Trusts' website on a timely basis.

ry.       The Reimbursement Contribution Fund Is Exhausted

          28.        Both prior to their receipt of the 2018 Cash Settlement Proceeds and thereafter,

while the Claim Trusts remained in possession of 2018 Cash Settlement Proceeds and made the

$18   million distribution, the Claim Trusts continued to present invoices on a timely basis for Trust

Claim expenses to the Company for reimbursement from the Initial Funding. Following receipt of

2018 Cash Settlement Proceeds, as before such time and following the $18 million distribution,

the Company continued to reimburse the Claim Trusts on a timely basis for Trust Claim expenses

against the Initial Funding. During the third quafter of 2019, Trust Claim Expenses came, in the

aggregate, to exceed the amount             of $13 million. As a result, by the end of December 2019,the

Initial Funding was exhausted and, as noted above, pursuant to the confrrmed Plan, the Initial

Funding need not be reimbursed by the Claim Trusts.23

          29.        On December 19, 2079, the Trustee, in accordance with the Loan Agreements,

requested a loan in the amount of $386,547 .69 ("December Loan Request"), which loan, had               it

been made, would have constituted a draw on the Trust Delayed Draw Facility, as implemented

pursuant to the Plan and Loan Agreements.24

          30.        On January 21,2020, the Company refused to fund the I)ecember Loan Request

claiming, incorrectly, that conditions for the funding of a loan under the Loan Agreements (a

"Loan") were not satisfied.2s The Company's position that,             as   of January 21,2020, there were



23    See Plan, Article   V.F(ii) and V.G(ii).
24    The December Loan Request is annexed hereto as Exhibit C.

25    Millennium's response to the December Loan Request is annexed hereto has Exhibit D



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unsatisfied conditions precedent to its funding obligations under the Loan Agreements is without

merit and inconsistent with the plain language of the Plan and with the Loan Agreements.

         31.      On January 22, 2020, the Trustee, in accordance with the Loan Agreements,

requested another loan in the amount of $3 1 8,712.44           ("January Loan Request," and collectively

with the December Loan Request, the "Loan Requests").26

IV.      The Company's Erroneous Interpretation of the Plan and Loan Agreements

         32.      The conditions for draws under the Loan Agreements are set forth in Section 1(a)

of each of the Loan Agreements, which section states in pertinent part as follows:

         Loans. The Borrower may borrow amounts under this Agreement .                 ;
         provided, that (i) the aggregate principal amount of the Loans made
         hereunder plus the aggregate principal amount of all loans made under the
         Corporate Claim Trust Loan Agreement shall not exceed the Maximum Loan
         Amount at any time fi.e., $7,000,0001, (ii) the proceeds of all Loans shall be
         used solely in furtherance of the Trust Purpose (including, but not limited to,
         for the avoidance of doubt, to fund and/or reimburse any of the fees, costs,
         and expenses of the professionals retained by the Bomower in connection
         therewith), (iii) no bonowing request hereunder shall request Loans in an
         amount that would exceed the Available Amount at such time and (iv) if,
         after giving effect to the making of a Loan, the aggregate principal amount
         of Loans made under this Agreement (including such Loan requested) plus
         the aggregate principal amount of all loans made under the Corporate Claim
         Trust Loan Agreement, in each case, as of the date of such f,oan, would
         exceed the Maximum Loan Amount, then the amount of the requested Loan
         shall be automatically reduced to the Available Amount2T at such time (for
         the avoidance of doubt, no Loans may be requested or funded until
         ($13,000,000 has been contributed to the Trust by the Lender pursuant to
         Article V.F and Article V.G. of the Plan ("Non Loan Contribution") and the
         entíre amount of the Non Loan Contribution has been used by the Trusts
         ín furtherance of the Trust Purpose und/or the trust purpose under the
         Corporate Clsim Trust Agreement, øs applicøble).28


26   The January Loan Request is annexed hereto as Exhibit E.
27 "Available Amount" is defined under the Lender Claim Trust Loan Agreement as "at any measurement time, the
     Maximum Loan Amount minus the sum of (i) the aggregaÍe principal amount of the Loans made hereunder and
     (ii) the aggregate principal amount of the loans made under the Corporate Claim Trust Loan Agreement at such
     time." Lender Claim Trust Loan Agreement $ 6, "Definitions."
28   Loan Agreements S l(a) (emphasis added).



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       33.      In rejecting the Trustee's request for a Loan, the Company relies on the provision

of the foregoing paragraph (bolded above), stating the requirement that the funding of Loans is

conditioned on the depletion of the entire amount of the Non Loan Contribution "in furtherance        of

the Trust Purpose." According to the position of the Company, due to that requirement, the Claim

Trusts cannot borrow under the Loan Agreements at any time when assets of the Claim Trusts

include cash.from any source (including cash proceeds of the liquidation of Trust Assets) which is

potentially available for the Trust Purpose or because the Claim Trusts already made a distribution

to beneficiaries of the Claim Trusts in March 2019.In other wotds, according to the Company, a

Loan is not being requested for the Trust Purpose so long as the Claim Trust has other funds

available to fund the administration of the Claim Trust. This position, however, finds no support

in either the Plan provisions setting forth the funding obligations of the Company or in the Loan

Agreements and is inconsistent with the Plan and Loan Agreements.

        34.     Under the Loan Agreements, the term "Trust Putpose" simply means to "liquidate

(and convert to cash)" the Trust Assets, "by pursuing, litigating andlor settling any claims and/or

causes of action." There is nothing in this definition from which   it is possible to infer a requirement

that the Claim Trusts have depleted all other available sources of funding, including cash proceeds

from the liquidation of Trust Assets recovered before the Loan Agreements became effective'

Furthermore, the Trust Purpose includes the maintenance of appropriate reserves for the payment

of Trust Claim Expenses. As set forth   I   12, supra, the Trust Agreements provide that the Trustee


"shall . . . retain Cash and fund one or more reserves" for the payment of fees and expenses.

        35.     In addition to being    unsupported by the Plan and the Loan Agreements, the

Company's cument position is inconsistent with its own reimbursement of Trust Claim Expenses

from the Reimbursement Contribution Fund. Under the relevant provisions of the Plan,                  the




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Company was obligated to reimburse only expenses which were incurred for reasons that fall

squarely within the definition               of "Trust Purpose." Specifically, the Plan provides that
"Reorganized Millennium shall be obligated                   to pay the   reasonable fees and expenses of

administering the Retained [Claims Trusts] Causes of Action." As noted above, since the effective

date of the Plan, the Company has reimbursed the Claim Trusts for fees and expenses to the              full

extent of the Reimbursement Contribution Fund. As a result, the Reimbursement Contribution

Fund has been exhausted             - afactthat   the Company cannot and does not dispute. The consequences

of the exhaustion of the $10 million Reimbursement Contribution Fund under the Plan could not

be clearer: "fo]nce this $10,000,000 is exhausted, Millennium shall advance additional funds from

the Trust Delayed Draw Facility (not to exceed $7,000,000 in the aggregate . . . .)."         2e



          36.        The Company also assefts that, because the Claim Trusts were successful in

recovering Claim Proceeds and made distributions to beneficiaries of Claim Proceeds received

prior to the Effective Date of the Loan Agreements, the Claim Trusts are precluded from borrowing

under the Loan Agreement or,               if a bonowing    is made, it must be immediately repaid from the

Claim Proceeds received before the Effective Date of the Loan Agreements. But the Plan belies

this argument: the Initial Funding "shall not be required to be reimbursed" by the Claim Trusts.30

Moreover, the conditions precedent set for in Section 1(a) of the Loan Agreements do not require

that the Claim Trusts have no available cash in order to draw down on the loan.3l To the contrary,

only Claims Proceeds received alter a loan has been advanced are required to be used for

repayment of any loan outstanding at the time such proceeds are received.32 The Company is,



29   Plan, Art. V.F(ii),   c(ii).
3o   l¿. (emphasis added).
3l   Loan Agreements S I (a)
32   r¿. $ l(c).



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simply, incorrect in asserting that "all litigation proceeds," which were received before the

Effective Date of the Loan Agreement, must be "first used to satisff the amounts borrowed" under

the Loan Agreement.33

                                                 ARG

I.      Cause Exists to Reopen the Chapter 11 Cases

        37.       Pursuant to Section 350(b) of the Bankruptcy Code, a bankruptcy "case may be

reopened in the court in which such case was closed to administer assets, to accord relief to the

debtor, or for other cause." 11 U.S.C. $ 350(b); see also Fed. R. Bankr. P. 5010                  ("4   case may be


reopened on motion of the debtor or other party in interest pursuant to $ 350(b) of the Code.").

"Whether to reopen a closed bankruptcy case is committed to the discretion of the bankruptcy

couft." In re Shifano, Bankr. No. 12-11148(CSS),2013 WL                       85203   , at*2 (Bankr. D. Del. Jan'   8,


2013) (quoting In re Canoe Mfg. Co.. Inc., 466 B.R. 251,261(Bankr. E.D. Pa. 2012)). Bankruptcy

courts have broad discretion to reopen cases after an estate has been administered. In re Laz.v Days

RV Center. Inc. ,124 F.3d 418, 423 (3d Cir. 2013).

        38.        While the Bankruptcy Code does not define "other cause" or specifu the type of

"relief sufficient   to   justify reopening   a case, courts   "generally look to whether reopening that case

will benefit creditors." In re Shifàno, 2013 WL                85203   , at   *2.   Coutts have also considered a

number of nonexclusive factors, including: (1) the length of time that the case was closed; (2)

whether a non-bankruptcy forum has jurisdiction to determine the issue which is the basis for

reopening the case; (3) whether prior litigation in the bankruptcy court determined thata state coutt

would be the appropriate forum to determine the rights, post-bankruptcy, of the parties; (4) whether

any parties would be prejudiced were the case reopened or not reopened; (5) the extent of the



33   Exhibit D



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benefit to the movant by reopening; and (6) whether it is clear at the outset that no relief would be

forthcoming by granting the motion to reopen. See id.;             PlusFunds           , 492 B.R. 202,

209-10 (Bankr. S.D.N.Y. 2013).

        39.     It is well-established   that a bankruptcy court may reopen bankruptcy cases to

interpret and enforce its prior orders and any agreements it confirmed pursuant to such orders. See

Lazy Days' RV Center, 724 F .3d at 423 (finding cause existed to reopen bankruptcy case in order

to interpret agreement    incorporated into confirmed Chapter 11 plan);             In re Landsource
Communities Development, LLç, Bankr. No. 08-1111I-KJC, 2020 WL 42843, at
                                                                                          *l-8 (D. Del.

Jan. 3, 2020) (affirming bankruptcy coufi's order reopening case to resolve dispute regarding

injunction and release provisions in its confirmation order); In re Fibermark. Inc.,369 B.R. 761,

768-69 (Bankr. D.   Vt. 2007) (reopening bankruptcy        case   to interpret "key employee severance

plan" embodied within the debtors' confirmed plan). "This is consistent with the general principle

that bankruptcy courts 'have broad authority under $ 1142 to order actions required to ensure

compliance with a confirmed plan."' Fibermark, 369 B.R. at768 (quoting In re Lac)', 304 B.R.

439,447 (D. Colo. 2004)).

        40.     It is equally well-established that reopening a bankruptcy       case is appropriate to


allow a trustee of the debtors' assets to administer those assets for the benefit of the estate's

creditors. See. e.g., In re Sween)',275 B.R. 730,732 (Bankr. W.D. Pa. 2002) (granting trustee's

motion to reopen bankruptcy case to enteftain trustee's application to retain special counsel in

connection with a state courl action that constituted property of the debtor's bankruptcy estate); In

re Stewart, 154 B.R. 717,7I1 (Bankr. N.D.          Ill.   1993) (granting trustee's motion to reopen

bankruptcy case to administer assets debtor failed to disclose); see also Mendelsohn v. Ozer, 241

B.R. 503, 506 (E.D.N.Y.1997) (finding it was an abuse of discretion for the bankruptcy court to




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deny trustee's motion to reopen bankruptcy cases to administer proceeds from settlement of claim

that constituted property ofthe debtor's bankruptcy estate).

       4I.       Here, there is compelling cause to reopen the Cases. In contravention of the

confirmed Plan, and the Trust Agreements and Loan Agreements implementing the Plan, the

Company refuses to provide the Loans requested by the Trustee, which the Trustee has deemed

necessary   to effectuate the Trust Purpose, i.e., administer the Trust Assets. This Courl,   as the

Court that oversaw the Cases and confirmed the Plan and implementing documents, "is well-

positioned to adjudicate claims related to those documents in particular, and in the context of this

chapter 1 I case generally." See Fibermark, 369 B.R. at769 (granting motion to reopen bankruptcy

proceeding to interpret a conhrmed employee severance plan where court was "intimately familiar

with the issues" from presiding over the chapter 11 cases); see also Laz)' Days' RV Center, 724

F.3d at 423 (frnding cause existed to reopen bankruptcy case in order to interpret agreement

incorporated into conf,rrmed Chapter 11 plan).

       42.       As noted above, in seeking entry of an order closing the Cases, the Company

invoked the fact that it was funding the Claim Trusts as a rationale for why the Court could close

the Cases. At that time, there was no dispute over the administration of the Trust Assets. However,

that is no longer the case: now, in refusing to honor the Loan Requests, which were made by the

Trustee   to fund Claim Trust Expenses expressly identified by the Trustee, the Company           is

interfering with Trustee's administration of the Trust Assets, as contemplated and provided for in

the confirmed Plan and implemented by, inter alia, the Loan Agreernents. Such interference

warrants the Court's reopening of the Cases to interpret and enforce the Plan and its implementing

documents and to ensure that the Trust Assets are properly administered for the benefit of the

beneficiaries of the Claim   Trusts.   See Sweeny, 275 B.R. at 732 (granting ttustee's motion to




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reopen bankruptcy case to entertain trustee's application to retain special counsel in connection

with a state court action that constituted properly of the debtor's bankruptcy estate).

II.    An Order is Warranted Compelling the Company to Comply With the Plan and
       Loan Agreement by Honoring the Loan Requests

        43.     "The court may direct the debtor to execute or deliver or to join in the execution

or delivery of any instrument required to effect a transfer of property dealt with by a conflrrmed

plan and to perform any other act . . . that is necessary for the consummation of the            plan."   11


U.S.C. $ 1142(b). Pursuant to Section 1142(b), abankruptcy court has broad authority to take

such action to ensure implementation of the plan, even post-confirmation. See U.S. Trustee v.

                   Mansi     Inc   166 F.3d 552, 556 (3d      Cir. 1999)

        44.     With this broad authority,   a   bankruptcy court may enter a post-confirmation order

necessary to ensure the proper execution and administration of a liquidating trust established by a

plan of reorganization. See Fruehauf Trailer, 369 B.R. at827-28 (finding that adversary proceeding

against former trustee of liquidating trust established under plan            of reorganization is a dispute

arising from conduct "'necessary for the consummation of the plan' under 11 U.S.C. $ 1142(b)");

see also                      Pioneer             Enti       248 B.R. 369,384 (B.A.P. 9th Cir. 2000)

(holding that bankruptcy court did not err        in converting chapter I 1 case to         chapter 7 post-

confirmation, pursuant to Section ll42(b), where liquidation entity was not accomplishing the

Plan's intended results).

        45.     Here, the Company's position with respect to the Trustee's request for a Loan

violates the confirmed Plan, and the Trust Agreements and Loan Agreements implementing the

Plan, and thereby interferes with the implementation and intended results of the Plan. The Claim

Trusts have satisfied all conditions precedent to borrow under the Loan Agreements and so the

Company is obligated to provide the requested             loan.   Se¿ T'1Ì   21, 28-36, supra. Under these



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circumstances, the Court can and should enter an order directing the Company to comply with its

obligations under the Plan and implementing documents. See Consolidated Pioneer, 248 B.R. at

384 (citing 11 U.S.C. $ 1142) ("The bankruptcy couft properly asserted its express, equitable, and

inherent authority over the fplan-created liquidation entity] and the remaining estate property in

order to square the unanticipated result of fthe liquidation entity's] intransigence with the Code

and Joint Plan provisions.").



                                         NO PRIOR REQUEST

        46         No prior motion for the relief requested herein has been made to this Court or any

other court.

                                             CONCLUSION

        47.        For the foregoing reasons, the Trustee respectfully requests that the Court enter

the attached Proposed Order: (i) reopening the Cases pursuant to Bankruptcy Code Section 350

and Bankruptcy Rule 5010;         (ii) enforcing the Plan   as against the reorganized the Company, by

requiring it comply with its obligation under the Loan Agreements to fund the Trustee's Loan

Requests; and   (iii) granting   such other and fuilher relief to the Claim Trusts as the Court may deem

just and proper.




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                                            NOTICE

       48.      Notice of the Motion and the Proposed Order will be served by electronic mail,

facsimile, regular or overnight mail, and/or hand delivery to the following: (i) the Office of the

United States Trustee; (ii) the Reorganized Debtors; and (iii) all other persons who have requested

notice in the Debtor's Cases pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure.

Dated: February   14,2020                            LANDIS RATH & COBB LLP
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                                                     of'the Millennium Corporate Claim Trust
                                                     and the Millennium Lender Claim Trust




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